Cas‘e 8:12-Cv-02090-DOC-.JPR Document 1 Filed 12/03/12 Page 1 of 9 Page |D #:104

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Attorne S for Defendants

I\/IONS' ER ENERGY COMPANY
AND MGNSTER BEVERAGE
CORPORATION

UNITED STATES DISTRICT COURT
CENTRAlJ DIS'I`RICT OF CALIFORNIA

JENNIFER WOODING, Gn Behal'fof
Herse}f, All Oth€rs Similal'ly Situated and
the General Public,

P l a i m i 1`1“`,
v.

MONSTER ENERGY COMPANY,
MONSTER BEVERAGE
CORPORATIGN F/K/A HANSEN
Il\I/]XgUR/\L CORPORATI©N, and D©ES

Def€ndants.

 

 

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DEFENDANTS

MONSTER ENERGY
COMPANY AND
MONSTER BEVERAGE
CORPORATION’S NOTICE
OF REMOVAL

 

['Orz-mg€ County Su erior COurt_
_Case No. 30-2012~ 0609716-CU-
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NCTlCE CF REMCVAL

TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
THE CENTRAL DISTRICT OF CALlFORNl/\ AND TO Al_,L PARTIES AND
THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ l3327 l44l, l446,
and 1453, Defendants l\/lonster Energy Company and l\/Ionster Beverage
Corporation respectfully submit this Notice ot`Removal of this case from the
Superior Court of the State ot`California l`or the County ofOrange to the United
States District Court for Central District ofCalifornia, Southern Division (the
federal district in Which this action is pending).

PRCCEDURAL HISTORY AND TIME`LINESS CF REl\/IGVAL

l. On November 5, 2012, Plaintit`l`lennii`er Wooding, purportedly on
behalfofhersclf and all others similarly situated, tiled a civil action in the Superior
Court ofthe State ofCali'fornia for the County ot`Orange entitled Je)vrii`fer W@odl')»ig
v. Mom'ter E)?e)gy C()mpcmy, et a/., Case l\lo. 30-2()12~0()6()97l6-CU-B”l`-CXC.
(See Exhibits A and B to the concurrently~tiled Declaration ol`Dan l\/larmalel`sl<y.)

2. On November 7, 20]2, Plaintit`t` served the summons and complaint on
l\/Ionster Energy Company by personal service (l\/larmalefsl<y Dec. ll 2, EX. A.)

3. On November 7, 2()l2, Plaintiff served the summons and complaint on
l\/lonster Beverage Corporation by personal service. (l\/larmalefsl<y Dec. il 3, EX.
B:)

4. Del`endants’ removal notice is timely. See 28 U.S.C. § l446(b)
(removal is timely ifliled within 30 days oi"del`endants’ receipt oi`the pleading).

5. Pursuant to 28 U.S.C. § l446(a), copies of all state court pleadings,
processes, and orders served on l\/lonster Energy Company and l\/lonster Beverage

Corporation are attached as Exhibits A and B to the l\/larmalefsl<y Declaration.

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DEFENDANTS’ No'nci;-; or Ri~;i\lo\/AL
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BASIS FOR REMOVAL JURISDICTI()N

6. Generally. The action is removable pursuant to the Class Action
Fairness Act of2005 (“CAFA”), 28 U.S.C. §§ l332(d) and l453(b), for at least the
following reasons:

7. Covered Class Action Consisting of More Than 100 l\/Iembers.
Plaintiff purports to bring the action on behalfof“[a]ll persons who purchased
l\/Ionster Rehab Green Tea + Energy (the ‘SUBJECT PRODUCT’) until the date
notice is disseminated to the Class.” (Compl. 1l 44; see also M 45-51.) Plaintiff
alleges that “the proposed Class contains millions ofmembers.” (]d. jl 45.) See 28
U.S.C. §§ 1332(d)(l) & (2), l453(a) & (b).

8. Diversity. The minimal diversity standard of CAFA is met as long as
any one defendant is a citizen ofa different state than any member ofthe class of
plaintiffs 28 U.S.C. § l332(d)(2)(/\).

a. The putative nationwide class includes members from every
state. (See Compl. ‘lljl 9, l3, 44.)

b. Defendant l\/Ionster Energy Company is a Delaware corporation
with its principal place of business in the State ofCalifornia. (Declaration of
Thomas J. Kelly 1] 2, filed concurrently herewith.) S@e Herlz Co)"p. v. F)'i'€mi’, l30
S.Ct. ll8l, ll86 (20l 0) (adopting the “nerve center test,” which locates a
corporation’s principal place of business in the place “where the corporation’s high
level officers direct7 control, and coordinate the corporation’s activities,’7
“typically” the corporation’s headquarters). Accordingly, pursuant to 28 U.S.C.

§ 1332(c)(l), l\/lonster Energy Company is, and at all relevant times was, a citizen
of Delaware and California.

c. Defendant l\/Ionster Beverage Corporation is a Delaware
corporation with its principal place of business in the State of California. (Kelly

Dec. jl 3.) See Hertz C()rp., 130 S.Ct. at l l86. Accordingly, pursuant to 28 U.S.C.

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§ l332(c)(l), l\/lonster Beverage Corporation is, and at all relevant times was, a
citizen of Delaware and California.

d. The citizenship of defendants sued as “Does” is disregarded for
purposes ofremoval. 28 U.S.C. § l44l(a).

l Thus, this putative nationwide class action satisfies the diversity
requirements of28 U.S.C. § l332(d)(2)(A) because any member ofa class of
plaintiffs (all States) is a citizen ofa state different from any defendant (Delaware
and California).

9. Amount in Controversy - Alleged Damages. Under CAFA, the claims

 

of individual class members are aggregated to determine ifthe amount in
controversy exceeds the required “sum or value of $5,000,000, exclusive of interest
and costs.” 28 U.S.C. §§ l332(d)(2), (d)(6). Plaintiff alleges five causes of action:
violation of the Consumers chal Remedies Act (Cal. Civ. Code § 1750 er sec/.),
violation ofthe unfair competition law (Cal. Bus. & Prof. Code §17200 er seq.),
breach of express warranty, breach of implied warranty, and unjust enrichment
(Compl. W 52-99.) Plaintiffseel<s, on behalf ofherself and “millions” of putative
class members, infer a/i`a, damages, restitution, disgorgement of all monies
acquired by Defendants, declaratory and injunctive relief, and punitive damages
(Compl. jj 45, Prayer for Relief following il 99.) Without conceding any merit to
Plaintiff`s damages allegations or causes of action, the amount in controversy here
satisfies CAFA’s jurisdictional threshold.

Plaintiff asserts that “Defendants have taken millions of dollai‘s” from
consumers who purchased l\/Ionster Rehab Gi‘een Tea + Energy (tlie product at
issue), that she brings this action in part to “obtairi redress for those who have
purchased” l\/Iorister Rehab Green rl`ea + Energy, and that “unless a class is
ceitified, Defendants will retain monies received as a result oftheir conduct that
was taken from Plaintiff and proposed Class iiieinbers.” (Compl, il‘ll 3, 8, 10, 50.)

Specifically, Plaintiff seeks restitution in the form of“all moneys paid for” Monster

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Rehab Greeri Tea + Eriergy and “disgorgement of profits Defendants received from
sales” ofthe product. (,E.g., Compl. 1111 81 , 94.)

From C)ctober 201 1 (when l\/lonster Energy Company first began selling
Monster Rehab Green Tea + Energy) to October 2012, l\/lorister Energy Company’s
sales of l\/lorister Rehab Green Tea + Eriergy iri the United States have exceeded
$5,000,000. (Kelly Dec. il 7.) While Defendarits dispute that they are liable to
Plaintiff or to the putative class (or that Plaintiff or the putative class suffered injury
or incurred damages iri any amount whatsoever) and make no admission as to
whether class action treatment is appropriate or warranted iri this case, for purposes
of satisfying thejurisdictional prerequisites ofCAF/\, the amount iri controversy
exceeds $5,000,000.

10. Amount in Controvers\/ ~ Attorney’s Fees. Plaintiff also seeks an

 

award of attorney’s fees. (Compl. 1111 81, 94, “Prayer for Relief’ 11 l.) rfhis amount
should also be included iri the amount in controversy See Go]d/)erg v. CPC 1th ’],

])ic., 678 F.2d 1365 (9th Cir. 1982).

1 l. No CAFA Exclusions. This action does not fall within any exclusion

 

to removal jurisdiction recognized by 28 U.S.C. § 1332(d). Plaintiff brings this
action on behalf ofa nationwide class of“[a]ll persons who purchased l\/lorister
Rehab Green Tea + Eriergy (the ‘SUBJECT PRGDUCT’) until the date notice is
disseminated to the Class.” (Compl. 11 44.) Plaintiff does not allege that over one
third ofthe putative class comprises citizens of California. Nor can the complaint
as pleaded support such a conclusion Therefore, even though l\/lonster Energy
Company and l\/lonster Beverage Corporatiori are citizens of Califomia (and
Delaware), the exclusions to removal jurisdiction do not apply. See 28 U.S.C.

§ 1332(d).

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DEMAND F()R JURY TRIAL
12. Defendants Monster Energy Company and l\/lonster Beverage
Corporation demand trial by july on all issues raised in this action upon which a
jury trial is permitted
N()TICE T() STATE C()URT
13. Pursuant to 28 U,S.C. § 1446(d), a copy ofthis Notice of Removal is
being filed with the Clerk ofthe Superior Court for the County of Orange. (See
l\/larmalefsky Dec. Ex. C, attaching without exhibits the Notice of Filing of Notice

of Removal.)

Accordingly, Defendants respectfully submit that this action is removed

properly pursuant to the Class Action Fairness Act.

Dated: December 3, 2012 l\/IORRISON & FOERSTER LLP

By:
\f§an 1\/1arn7!1efsky
Attorneys for Defendants

M()nster Energy Company qnd
Monster Beverage C()rp()ratlon

 

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Case 8:12-cv-02090-DOC-.]PR Document 1 Filed 12/03/12 Page 7 019 Page |D #:110

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge David O. Carter and the assigned
discovery Magistrate Judge is Jean P. Rosenbluth.

The case number on all documents filed with the Court should read as follows:

SACV12- 2090 DOC (JPRX)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on a// defendants (if a removal action is
fi/ed, a copy of this notice must be served on a// p/aintiffs).

Subsequent documents must be med at the following location:

[_] Western Division EJ/$T)uthern Division [_] Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fai|ure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOTlCE OF ASS|GNMENT TO UNlTED STATES MAGlSTRATE JUDGE FOR D|SCOVERY

Case 8:12-cv-02090-DOC-.]PR Document 1 Filed 12/03/12 Page 8 019 Page |D #:111

UNI'I`ED STATES DISTRICT C()URT, CENTRAL DISTRICT OF CAl,lFORNlA
(‘,`IVllt, C()VF,R SI]I~:E.I`

 

l (a) Pl..»\ll\"l"ll"l~`S (Cheek box il`you are representing )'t)urselfl:l)
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Dl§l"END.»\i\"l`S
l\'lottster Energ_\' Cotnpany. l\'lonster Beveragc Corporation l`/k/zi ll:tnsen N;ituml

Corporation_ and l)()liS 1-10

 

(l)) .»\ttorne_\'s ll?irtn Narne, Address and vtelephone Number. 11)'ou are representing
yoursell`_ provide satne.)
Anne i\ndre\\ts lBar No. 103280)_ John C, Thornton (Btir No. 84492), Sean
'l`hoinas lliggins (Bar No. 266888) /\NDREWS & 'lllORN'l`ON
2 Corporate Park, Suite 110_ lr\'ine, CA 92602;Te1: (949) 748-1000

 

Attorn'eys 111` Kno\\i'n)

Dan M;irmalel`sky (Bar No.95'477),1)avid F. Mcl)o\vcll (Bar No. 125806)_
Purvi (_`i. Putel (Bar No. 270702) i`leRRlSON & FOERSTER 1,1.1’
555 West l"ifth Street. 1.os Angelcs` Calit`ornia90013; '1`el: (213) 892~5200

 

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lfyes_ list case number(s):

 

\"'lll(b). RELATED (§`.»\SF,S: l'lave any cases been previously filed in this court that are related to the present case‘? inyo D Yes
lfyes, list case number(s):

 

(`ivil cases are deemed related ifa previously filed case and the present ease:

(Check all boxes that apply) 13 A. Arise from the same or closely related transactions, happenings or events or
13 B. Call for detennination ofthe same or substantially related or similar questions of law and fact; or
13 C l"or other reasons would entail substantial duplication oflabor if heard by different,iudges; or

D Dv lnvolve the same patent, trademark or copyright and one ofthe factors identified above iii a, b or c also is present

 

IX, \"I~ll\‘lll~e`: (When completing the following information use an additional sheet ifnecess:iry )

(a) l,ist the Couiity in this District; California County outside of this District; State if other than C`alifornta, or l~`oreign (.`ountry, in which l£.-\ C`ll named plaintiff resides
ll Check here ifthe govcmm'ent, its agencies or employees is a named plaintiff lt` this box is checked. eo to item 1b)

 

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Naincd Plaiiitifl`resides in lluntington l3eacli, California_ which is iii thumin mass 15 nationwide
Oraiige County

 

(b) l,.ist the County in this District; California Coutity outside ofthis District; State ifother than Calil`ornia; or Foreign Country_ in which ICA(`H named defendant resides
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L`ounty iii this l)istrict.‘ (`alifoniia County outside ofthis District; State_ if other than Califoniin; or l"oreign Couiitry

 

l)efcndants i`\'lonstcr l§iiergy Company and lvlonstcr Bevcrage Corporation are
incorporated in the state of Delaware with their principal place of business in
Coi'ona, California. which is in Riverside County

 

 

 

 

(c) l.ist the County in this District, Califoi'nia County outside ofthis l)istrict'_ Statc ifotber than Calil`ornia; or l~`oreign Country_ in which li,»\(,`ll claim arose.
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Note: ln land condemnation cases use the location of t'be\tract of lz;/Kllinvolved

 

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Notice to Couiisel/l’ai'ties: 'l`he CV-71 118-44) Civil Covcr Slieet and tl information contained herein neither replace nor supplement the filing and service ol`plcadings
or other papers as required by lawn `l`his form, approved by the .ludicial Co ferenee ofthe United States in September 1974, is required pursuant to ltocal Rule 3~1 is not filed
but is used by the Clerk ofthe Court for the purpose ol`statisticse venire and initiating the civil docket sheet (lror more detailed instructions see separate instructions sheet )

 

l\'e_v to Statistical codes relating to Social Security C`ases_

l\lature ofSuit Code i-\bbrev'iation Substantive Statexneiit of(.`ause ofAction
861 lll.»'\ All claims for health insurance benefits (Medicare) under ‘l`itle 18` l)art A, ofthe Social Security Act, as amended

Also_, include claims by hospitals skilled nursing facilities etc._ for certification as providers ot`services under the
prograni. (4211.$.€. 19351"13(1)))

862 Hl. r\ll claims for "Black l.ung" benefits under 'l`itle 4, l’art 13, ofthe l"ederal Coal l\'liiie llealth and Sat"ety Act of 1969.
(3011.$.€. 923)

863 l`)lWC All claims filed by insured workers for disability insurance benefits under 'l`itle 2 ofthe Social Sectirity Act_ as
aniended', plus all claims filed for child's insurance benefits based on disability 142 115 C. 405(g))

863 l)lWW i-'\ll claims filed for widows or widowers insurance benefits based on disability under 'l`itle 2 of the Social Secui'ity
/\ct_/ as amended (4211.$ C, 405(g))

864 SSlD All claims for supplemental security income payments based upon disability filed under `l`itle 16 of the Social Security
Aet, as amended

865 RSl All claims for retirement (old age) and survivors benefits under 'l`itle 2 ofthe Social Securit_v ./\et_ as amended 142

u_s.c_ tg>)

 

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